       Case 3:21-cr-00685-WQH Document 58 Filed 10/20/22 PageID.145 Page 1 of 1


                   SENTENCING SUMMARY CHART                                                USPO
         [ __
           ✔ AND GOVERNMENT MOTION UNDER USSG § 3E1.1(b)]                                  AUSA     ✔
                   Sentencing Date: November 14, 2022                                        DEF

Defendant=s Name: Mayra Partida de Herrera                              Docket No.: 21-CR-685- WQH

Attorney=s Name: Paul Benjamin                                          Phone No.: 619-546-7579

Guideline Manual Used:         November 1, 201                       Agree with USPO Calc.:       No

Base Offense Levels: (Drug Quantity if Applicable:) USSG § 2T3.1 and 2D1.1- 23.9                     30
kilograms of cocaine, reduced due to role
Specific Offense Characteristics: USSG §


Victim Related Adjustment:

Adjustment for Role in the Offense:                                                                  -2

Adjustment for Obstruction of Justice:

Adjustment for Reckless Endangerment During Flight:

Adjusted Offense Level:                                                                              28
(   Combined (Mult. Counts)    Career Off.      Armed Career Crim.)

Adjustment for Acceptance of Responsibility:[        ✔   Gov. Motion Under USSG § 3E1.1(b)]          -3

Total Offense Level:                                                                                 25

Criminal History Score:                                                                              0

Criminal History Category:                                                                           I
(   Career Offender    Armed Career Criminal)

Guideline Range:                                                                   from       57   mths
(Range limited by:    minimum mand.     statutory maximum                             to      71   mths
Departures:
USSG § 5K2.0- Combination of Circumstances                                                           -2


Resulting Guideline Range: Adjusted Offense Level        23              from 46 mths
                             40 months custody, 3 years supervised
RECOMMENDATIONS: __________________________________                          to 57 mths
release, $100 special assessment. A variance is recommended due to defendant's mental illness,
history of abuse, and to avoid undue sentencing disparities.
